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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION


DONALD MOORE LIVINGSTON POMARE,

         Petitioner,

v.                                                   CASE NO. 8:13-CV-1087-T-30TBM
                                                   Crim. Case No. 8:03-CR-446-T-30TBM
UNITED STATES OF AMERICA,

      Respondent.
__________________________________/

                                          ORDER

         This Cause is before the Court as Petitioner’s Motion for Relief from Judgment of

Conviction and Sentence (“Motion for Relief”) (CR Dkt. 129) which the Court construed in

its Order (CR Dkt. 131) of April 22, 2013 as a Motion to Vacate, Correct, or Set Aside

Sentence Pursuant to 28 U.S.C. § 2255 (“§ 2255 Motion”) (CV Dkt. 1).

         On December 4, 2012, Petitioner filed pro se his Motion for Relief. (CR. Dkt. 129).

In its Order (CR Dkt. 130) of March 12, 2013, this Court informed Petitioner that because

he sought to challenge his sentence, the proper motion to file would be a § 2255 motion.

Pursuant to Castro v. United States, 540 U.S. 375 (2003), the Court informed Petitioner of

its intent to construe his Motion for Relief as a § 2255 motion and that construal’s

consequences. The Court informed Petitioner that if he did not wish the Court to construe

his Motion for Relief as a § 2255 motion, Petitioner should withdraw his Motion for Relief

within thirty (30) days. Alternatively, he could inform the Court to proceed with his Motion
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for Relief as a § 2255 Motion, and he should include all other claims upon which he would

challenge his sentence. Petitioner did not respond, and, on April 22, 2013, after more than

thirty days had passed, the Court directed the Clerk to open a civil case and docket the

Motion for Relief as the instant § 2255 Motion.

       A motion to vacate must be reviewed prior to service on the United States. See Rule

4 of the Rules Governing § 2255 Cases. If the “motion and the files and records of the case

conclusively show that the prisoner is entitled to no relief,” the motion is properly denied

without a response from the United States. 28 U.S.C. § 2255(b). The Government need not

respond because the § 2255 Motion appears on its face to be time-barred and otherwise

deficient. Consequently, the Motion will be dismissed.

                                    BACKGROUND

       Petitioner was sentenced by this Court on April 4, 2004, after entering a guilty plea

pursuant to a written plea agreement (CR Dkt. 44, Plea Agreement). Petitioner appealed his

sentence, and on June 7, 2005, the Eleventh Circuit Court of Appeals dismissed his appeal

pursuant to the valid appeal waiver in his plea agreement. Consequently, Petitioner’s

judgment became final on September 5, 2005. This Court docketed Petitioner’s instant §

2255 Motion (CV Dkt. 1) on April 23, 2013.

                                      DISCUSSION

       In this § 2255 Motion, Petitioner challenges the validity of his plea-based conviction

of Count Two of the Indictment (CR Dkt. 18, 2), conspiracy to possess with intent to

distribute five kilograms or more of a mixture or substance containing a detectable amount

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of cocaine while aboard a vessel subject to the jurisdiction of the United States. Petitioner

was sentenced to 135 months imprisonment, followed by five years of supervised release.

Petitioner entirely relies on United States v. Bellaizac-Hurtado, 700 F.3d 1245 (11th Cir.

2012), which concerns Congress’s ability under the “Offences Clause” of Article

I, Section 8, Clause 10 of the United States Constitution to proscribe drug-trafficking activity

in the territorial waters of foreign countries. See id. at 1258. Petitioner cites Bellaizac-

Hurtado to argue his sentence should be vacated due to jurisdictional defects as the Maritime

Drug Law Enforcement Act under which he was convicted is now unconstitutional. As

discussed below, Bellaizac-Hurtado is distinguishable from Petitioner’s case, and Petitioner’s

§ 2255 Motion is time-barred.

Time Bar

         The Anti-Terrorism and Effective Death Penalty Act creates a one-year limitation

period for a motion to vacate.1 Because Petitioner’s conviction was final on September 5,

2005, Petitioner’s limitation period expired one year later, on September 5, 2006.2 As noted

above, Petitioner filed his Motion for Relief, construed as the instant § 2255 Motion, on



         1
            “A 1-year period of limitation shall apply to a motion under this section. The limitation period shall run from
the latest of . . . the date on which the judgment of conviction becomes final . . . .” 28 U.S.C. § 2255(f)(1).

         2
           Bellaizac-Hurtado would not entitle Petitioner to a delayed start of the limitation period under § 2255(f)(3)
as Bellaizac-Hurtado is a circuit court decision, and § 2255(f)(3) requires the recognition of a new right by the Supreme
Court in order to delay the limitation period’s start. 28 U.S.C. § 2255(f)(3). Bellaizac-Hurtado is also not a “fact” for
the purposes of a delayed limitation period under § 2255(f)(4), which provides for beginning the limitation period on
“the date on which the facts supporting the claim or claims presented could have been discovered through the exercise
of due diligence.” 28 U.S.C. § 2255(f)(4); see Madaio v. United States, 397 Fed. App’x 568, 570 (11th Cir. 2010)
(unpublished) (finding “the discovery of a new court legal opinion, as opposed to new factual information affecting the
claim, does not trigger the limitations period.”).

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December 4, 2012, more than six years beyond the one-year period of limitation under 28

U.S.C. § 2255(f). Consequently, Petitioner’s § 2255 Motion is time-barred as he has not

shown he was prevented from timely filing the Motion because of extraordinary

circumstances that were both beyond his control and unavoidable even with diligence.

Sandvik v. United States, 177 F.3d 1269, 1271 (11th Cir. 1999).3 Here, Petitioner has not

presented any argument to establish that extraordinary circumstances prevented him from

timely filing his motion to vacate.

Bellaizac-Hurtado and Jurisdiction

         Even if this Court were to entertain the merits of the § 2255 Motion, it would fail. By

way of explanation only to Petitioner, the Court points out that his reliance on Bellaizac-

Hurtado is misplaced. Petitioner admitted in the “Facts” section of his plea agreement that,

“On October 23, 2003, the [Petitioner] . . . [was] apprehended in international waters in the

Carribean Basin by the United States Coast Guard . . . while attempting to transport over

4,300 pounds of cocaine from Colombia . . . to Jamaica.” (CR Dkt. 44, 13). That admission

places Petitioner in international waters at the time of his apprehension, beyond any foreign

country’s territorial waters. See U.S. v. McPhee, 336 F.3d 1269, 1273 (11th Cir. 2003)

(stating the United States generally recognizes the territorial seas of foreign nations up to

twelve nautical miles adjacent to recognized foreign coasts). In addition, Petitioner also


         3
            The Court notes that a jurisdictional challenge is not excluded from the one-year limitation period. See, e.g.,
United States v. Williams, 383 Fed. App’x 927, 929-30 (11th Cir. 2010) (unpublished) (finding § 2255 specifically
“includes jurisdictional challenges in its enumeration of grounds for relief from sentence that may be asserted under”
it); Barreto v. United States, 551 F.3d 95, 100 (1st Cir. 2008) (holding that jurisdictional challenges “are not exempt from
§ 2255's filing deadline”).

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admitted he was “aboard a vessel subject to the jurisdiction of the United States[,]” (CR Dkt.

18, Indictment, 2), when he pled guilty to Count Two of the Indictment. Petitioner cannot

rely on Bellaizac-Hurtado as it is factually distinguishable from his case despite his claim,

now, that he was apprehended in a foreign country’s territorial waters rather than

international waters. Ultimately, Petitioner cannot escape his earlier admissions simply by

making contrary assertions now.

       The Court has already given Petitioner thirty days to address his Motion’s

untimeliness, but Petitioner has failed to respond and give any reasons why the time-bar

should not apply. Accordingly, it is hereby ORDERED that:

       1.     Petitioner’s § 2255 Motion is DISMISSED as time-barred. The Clerk is

directed to terminate from pending status the § 2255 motion (CR Dkt. 132) filed in the

corresponding criminal case number 8:03-CR-446-T-30TBM.

       2.     The Clerk shall terminate any pending motions and close this case.

             DENIAL OF CERTIFICATE OF APPEALABILITY AND
                  LEAVE TO APPEAL IN FORMA PAUPERIS

       Petitioner is not entitled to a Certificate of Appealability (“COA”). A prisoner

seeking a writ of habeas corpus has no absolute entitlement to appeal a district court’s denial

of his petition. 28 U.S.C. § 2253(c)(1). Rather, a district court must first issue a COA. §

2255(c)(2) permits issuing a COA “only if the applicant has made a substantial showing of

the denial of a constitutional right.” To merit a COA, Petitioner must show that reasonable

jurists would find debatable both (1) the merits of the underlying claims and (2) the


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procedural issues he seeks to raise. See 28 U.S.C. § 2253(c)(2); Slack v. McDaniel, 529 U.S.

473, 478 (2000); Eagle v. Linahan, 279 F.3d 926, 935 (11th Cir. 2001). Because the motion

to vacate is clearly time-barred and not entitled to a delayed start of the limitation period,

Petitioner cannot meet Slack’s prejudice requirement. Slack, 529 U.S. at 484. Finally,

Petitioner is not entitled to appeal in forma pauperis because he is not entitled to a COA.

          Accordingly, a certificate of appealability is DENIED. Leave to proceed in forma

pauperis on appeal is DENIED. Petitioner must pay the full appellate filing fee without

installments unless the circuit court allows Petitioner to proceed in forma pauperis.

          DONE and ORDERED in Tampa, Florida on April 25, 2013.




Copies furnished to:
Counsel/Parties of Record
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